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                   EXHIBIT 3
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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF HAWAII

    MONICA I. EDER et al.,                      )       NOTICE OF REMOVAL
                                                )
           Plaintiffs,                          )       Case No. 1:23-cv-459
                                                )
    v.                                          )       Hawaii State Court Case No.
                                                )       1CCV-XX-XXXXXXX JPC
    MAUI ELECTRIC COMPANY,                      )
    LIMITED et al.,                             )
                                                )
           Defendants                           )

                                    NOTICE OF REMOVAL

           Defendant Spectrum Oceanic, LLC (“Spectrum”), by and through counsel, hereby gives

    notice of removal of this action, pursuant to 28 U.S.C. §§ 1332(d), 1369, 1441(e), 1446, and


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    1453, from the Circuit Court of the First Circuit, State of Hawaii, to the United States District

    Court for the District of Hawaii.1

                                   PRELIMINARY STATEMENT

           1.      Plaintiffs seek to hold Defendants liable for the Lahaina Fire on August 8, 2023.

    Plaintiffs assert claims on behalf of themselves and a broad, worldwide putative class

    consisting of “[a]ll persons and entities who suffered (1) real property loss, (2) personal

    property loss, (3) business loss, and/or (4) personal injury as a result of the Lahaina Fire that

    started on August 8, 2023.” Exhibit B, Second Am. Compl. (“SAC”) ¶ 154. Plaintiffs also

    seek to represent two worldwide subclasses—an “Economic Loss and Property Damage

    Subclass” and a “Personal Injury and Wrongful Death Subclass.” Id. ¶¶ 155-56.

           2.      Federal court jurisdiction over this action is proper pursuant to the Class Action

    Fairness Act, (“CAFA”), 28 U.S.C. § 1332(d), and the Multiparty, Multiforum, Trial

    Jurisdiction Act (“MMTJA”), 28 U.S.C. §§ 1369, 1441(e). CAFA “provides the federal district

    courts with ‘original jurisdiction’ to hear a ‘class action’ if the [putative] class has more than

    100 members, the parties are minimally diverse, and the ‘matter in controversy exceeds the

    sum or value of $5,000,000.’” Standard Fire Ins. Co. v. Knowles, 568 U.S. 588, 592 (2013)

    (quoting 28 U.S.C. §§ 1332(d)(2), (d)(5)(B)). MMTJA provides federal district courts with

    “original jurisdiction of any civil action involving minimal diversity between adverse parties

    that arises from a single accident, where at least 75 natural persons have died in the accident at

    a discrete location.” 28 U.S.C. § 1369(a).




    1
      28 U.S.C. § 1446(a) requires only that Spectrum plausibly allege the requirements for federal
    jurisdiction; a removal notice “need not [offer] evidentiary submissions.” Dart Cherokee Basin
    Operating Co., LLC v. Owens, 574 U.S. 81, 84 (2014).

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                                           BACKGROUND

           3.      Plaintiffs originally filed this action on August 12, 2023 in the Circuit Court of

    the First Circuit, State of Hawaii, bearing Case No. 1CCV-XX-XXXXXXX JPC.

           4.      On October 13, 2023, Plaintiffs filed their Second Amended Complaint

    (“SAC”). Plaintiffs’ prior complaints asserted claims against Maui Electric Company, Limited,

    Hawaiian Electric Company, Inc., Hawaii Electric Light Company, Inc., and Hawaiian Electric

    Industries, Inc. (collectively, “Hawaii Electric”) and the County of Maui (the “County”). The

    SAC added claims against (i) Hawaiian Telcom, Hawaiian Telecommunications, Inc., and

    Hawaiian Telcom, Inc. (collectively, “Hawaii Telcom”) and Spectrum2; (ii) Trustees of the

    Estate of Bernice Pauahi Bishop (operating under the registered trade name Kamehameha

    Schools), Peter Martin & Associates and related individuals and entities, and JV Enterprises,

    LLC (collectively, the “Private Landowner Defendants”); and (iii) the State of Hawaii, the

    Hawaii Housing Finance and Development Corporation, and the Hawaii Department of Land

    and Natural Resources (collectively, the “State Landowner Defendants”).

           5.      Plaintiffs allege that the Lahaina Fire had a single “Area of Origin” at or around

    Hawaii Electric’s “Pole Number 7A” near the intersection of Lahainaluna Road and Ho'okahua

    Street in the vicinity of the Lahaina Intermediate School. SAC ¶¶ 12, 110, 115-16, 135-36.

    Plaintiffs allege that Pole Number 7A snapped and fell to the ground at around 3:00 a.m. as a

    result of high winds, and that when Pole Number 7A fell, it caused power lines between Pole

    Numbers 24 and 25 to fall. Id. ¶¶ 135-39. Plaintiffs contend that Hawaii Electric restored

    power to the lines around 6:10 a.m., igniting a brush fire. Id. ¶¶ 139-41. Plaintiffs allege that

    although the Maui Fire Department responded and declared the brush fire contained around




    2
     Plaintiffs also named Charter Communications Holding Company, LLC, Charter Communications
    Holding, LLC, Charter Communications, LLC, and Charter Communications Operating, LLC. On
    October 24, 2023, Plaintiffs voluntarily dismissed these Charter entities without prejudice.

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    9:00 a.m., the fire flared up at around 4:45 p.m. and spread “at a critically fast rate” to the town

    of Lahaina. Id. ¶¶ 108, 111-14.

           6.      Plaintiffs allege that Defendants played various roles in purportedly causing the

    Lahaina Fire and that the “combination” of their alleged actions “all contributed to cause” the

    fire. SAC ¶ 8. In particular, Plaintiffs allege that: (i) Hawaii Electric failed to replace old

    wooden power poles that were unable to withstand high winds, failed to deenergize its power

    lines despite high-wind warnings, and improperly restored power to downed lines (SAC ¶¶ 4,

    101-06, 121-25, 139); (ii) Hawaii Telcom and Spectrum had licenses to use Hawaii Electric’s

    poles and destabilized the poles with their own cables (id. ¶¶ 5, 129-30, 136); (iii) the Private

    and State Landowner Defendants allowed invasive, non-native vegetation to accumulate and

    overrun the land where the fire started and spread (id ¶¶ 6, 96-100, 131); and (iv) the County

    failed to implement reasonable, non-costly wildfire mitigation measures before the Lahaina

    Fire and failed to sound sirens warning Lahaina of the fire (id. ¶¶ 7, 132-33).

           7.      Plaintiffs assert claims for negligence (Count I, ¶¶ 169-87, against Hawaii

    Electric, Hawaii Telcom, Spectrum, and the Private Landowner Defendants), gross negligence

    (Count II, ¶¶ 188-235, against all Defendants), private nuisance (Count III, ¶¶ 236-82, against

    Hawaii Electric, Hawaii Telcom, Spectrum, and the Private Landowner Defendants), inverse

    condemnation (Count IV, ¶¶ 283-98, against Hawaii Electric, Hawaii Telcom, and Spectrum),

    ultrahazardous activity (Count V, ¶¶ 299-301, against Hawaii Electric), and injunctive relief

    (Count VI, ¶¶ 310-16, against all Defendants).

           8.      Plaintiffs assert claims on behalf of themselves and a putative, worldwide

    “Liability Class” consisting of: “All persons and entities who suffered (1) real property loss,

    (2) personal property loss, (3) business loss, and/or (4) personal injury as a result of the Lahaina

    Fire that started on August 8, 2023.” SAC ¶ 154.




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           9.      The SAC also identifies a worldwide “Economic Loss and Property Damage

    Subclass,” consisting of “[a]ll persons who suffered economic loss and property damage,

    including loss or damage to real and personal property and business losses, as a result of the

    Lahaina Fire that started on August 8, 2023,” and a worldwide “Personal Injury and Wrongful

    Death Subclass,” consisting of “[a]ll persons who suffered personal injuries as a result of the

    Lahaina Fire that started on August 8, 2023, and the personal representatives, survivors, and

    beneficiaries of the estates of all persons killed as a result of the Lahaina Fire.” SAC ¶¶ 155-

    56.

           10.     Two other putative class actions also arising out the Lahaina Fire were recently

    removed to the United States District Court for the District of Hawaii. See Naki v. State of

    Hawaii, Case No. 1:23-cv-00435-JAO-WRP (D. Hawaii); Burnes v. Hawaiian Elec. Co., Inc.,

    Case No. 1:23-cv-00452-LEK-RT.

          REMOVAL IS PROPER UNDER THE CLASS ACTION FAIRNESS ACT

           11.     Removal of this action is proper pursuant to CAFA because, upon information

    and belief, “the class has more than 100 members, the parties are minimally diverse, and the

    ‘matter in controversy exceeds the sum or value of $5,000,000.’” Standard Fire, 568 U.S. at

    592 (quoting 28 U.S.C. §§ 1332(d)(2), (d)(5)(B)).

    A.     The Class Action And Numerosity Requirements Are Satisfied.

           12.     Plaintiffs purport to bring this lawsuit as a class action on their own behalf and

    on behalf of all others similarly situated. SAC ¶ 1. Class action litigation is permitted by

    Hawaii R. Civ. P. 23. Accordingly, this case is a “class action” within the meaning of CAFA

    because Plaintiffs purport to bring it “under rule 23 of the Federal Rules of Civil Procedure or

    similar State statute or rule of judicial procedure authorizing an action to be brought by 1 or

    more representative persons as a class action.” 28 U.S.C. § 1332(d)(1)(B).




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           13.      The putative class has more than 100 members. Plaintiffs allege that “[t]he

    proposed Liability Class consists of thousands of putative members who have suffered

    economic losses, personal injuries, or both,” and that “thousands of putative class members

    comprise the proposed Economic Loss Subclass and Personal Injury Subclass.” SAC ¶ 160;

    see id. ¶ 2 (Plaintiffs bring this lawsuit on behalf of “thousands of people”).

           14.      Accordingly, this action satisfies the requirement for removal that “the number

    of members of all proposed plaintiff classes in the aggregate” is equal to or greater than 100.

    28 U.S.C. § 1332(d)(5)(B).

    B.     The Minimal Diversity Requirement Is Satisfied.

           15.      This Court possesses “original jurisdiction of any civil action in which … any

    member of a class of plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C.

    § 1332(d)(2).

           16.      Moreover, under CAFA, this action “may be removed to a district court of the

    United States in accordance with section 1446 … without regard to whether any defendant is a

    citizen of the State in which the action is brought.” 28 U.S.C. § 1453(b).

           17.      Minimal diversity exists. The putative class consists of both Hawaii and non-

    Hawaii citizens. See ¶¶ 29-32, infra. That alone assures that there are members of the putative

    class of plaintiffs who are citizens of a State different from any defendant.

           18.      The named Plaintiffs also includes both Hawaii and non-Hawaii citizens. For

    example, Plaintiff Steven David Potter alleges that he was “driving through Lahaina” on

    August 8, 2023. SAC ¶ 30. On information and belief, Mr. Potter is domiciled in, and a citizen

    of, Oregon.3 Plaintiff Club Sportswear, Inc. alleges that it leased two retail stores, along with



    3
     CNN, Lahaina resident had to abandon his car and run toward the ocean as wildfires closed in (Aug.
    10, 2023) (reporting that Steven Potter had been planning to move to Hawaii but “has a flight back
    home to Oregon to be reunited with his wife and five children”), https://www.cnn.com/us/live-
    news/maui-wildfires-08-10-23/h_51897878755058b966a730610952fc20.

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    an office and warehouse, in Lahaina. Id. ¶ 17. On information and belief, Plaintiff Club

    Sportswear, Inc. is a California corporation with its principal place of business in Costa Mesa,

    California, and is therefore a California citizen. Plaintiff Tommy Knapp alleges that he “owns

    a home” in Lahaina. Id. ¶ 22. On information and belief, Mr. Knapp (who founded Club

    Sportswear, Inc.) is domiciled in California, and is therefore a California citizen. Plaintiff

    Kronser Trust alleges that it owns a condominium in Lahaina. Id. ¶ 23. On information and

    belief, Plaintiffs Paul Kronser and Kristi Lynn Kronser, trustees of the Kronser Trust, are

    domiciled in California, and therefore the Kronsers and the Kronser Trust are California

    citizens.

            19.    Defendants also include both Hawaii and non-Hawaii citizens. For example,

    the Hawaii Electric entities’ principal place of business is in Hawaii.             SAC ¶¶ 39-42.

    Accordingly, Hawaii Electric is a citizen of Hawaii. See 28 U.S.C. § 1332(c)(1) (“a corporation

    shall be deemed a citizen of every State and foreign state by which it has been incorporated

    and of the State or foreign state where it has its principal place of business”).

            20.    Spectrum is not a citizen of Hawaii. Spectrum is a Delaware limited liability

    company with its principal place of business in Saint Louis, Missouri, and its members are

    citizens of Delaware, Connecticut, and New York. See Rule 7.1 Disclosure Statement; Johnson

    v. Columbia Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006) (“an LLC is a citizen of

    every state of which its owners/members are citizens”); 28 U.S.C. § 1332(d)(10) (under CAFA,

    “an unincorporated association shall be deemed to be a citizen of the State where it has its

    principal place of business and the State under whose laws it is organized”); Lethgo v. CP IV

    Waterfront, LLC, 2022 WL 2177125, at *6 (D. Haw. June 16, 2016) (“[C]ourts treat LLCs as

    unincorporated associations under CAFA, so they are citizens of the states under whose laws

    they are organized and the states where they have their principal places of business.”). On

    information and belief, Defendant JV Enterprises, LLC also is not a citizen of Hawaii. On


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    information and belief, JV Enterprises, LLC is a limited liability company organized in Idaho

    with its principal place of business in Idaho Falls, Idaho, and its members, Justin Ken Miller

    and Valerie C. Miller, are domiciled in Idaho Falls, Idaho.

           21.      Thus, there is minimal diversity under 28 U.S.C. § 1332(d)(2)(A) because “any

    member of a class of plaintiffs is a citizen of a State different from any defendant.”

    C.     The Amount In Controversy Requirement Is Satisfied.

           22.      Under CAFA, the amount in controversy must exceed $5 million, exclusive of

    interest and costs. 28 U.S.C. § 1332(d)(2). In a putative class action, the amount in controversy

    is determined by aggregating the claims of all members of the putative class(es).              Id.

    § 1332(d)(6).

           23.      The amount in controversy exceeds $5 million in the aggregate, exclusive of

    interest and costs. Plaintiffs seek to recover damages for economic losses, real and personal

    property damage, personal injuries, and wrongful death on behalf of thousands of putative class

    members related to the Lahaina Fire. SAC ¶¶ 154-56, 160. Plaintiffs allege that “the cost of

    rebuilding” alone has been estimated at $5.52 billion. Id. ¶ 10. Plaintiffs further allege that in

    the weeks after the Lahaina Fire, Hawaii Electric’s market capitalization “suffered a precipitous

    decline” from $3.55 billion to around $1.3 billion. Id. ¶ 11. Plaintiffs compare their putative

    classes to the collapse of the Champlain Towers condominium building in Florida in 2021,

    which resulted in nearly $1.2 billion in settlement funds. Id. ¶ 159.

           24.      Accordingly, although Spectrum denies that Plaintiffs or any putative class

    members are entitled to recover any amount, the amount in controversy requirement for

    removal under CAFA is satisfied.

    D.     The Primary Defendants Are Not All State Actors Against Whom The District
           Court May Be Foreclosed From Ordering Relief.

           25.      The Court would lack jurisdiction under CAFA if “the primary defendants

    [were] States, State officials, or other governmental entities against whom the district court

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     may be foreclosed from ordering relief.” 28 U.S.C. § 1332(d)(5)(A). CAFA’s state actor rule

     “preclude[s] CAFA jurisdiction only when all of the primary defendants are states, state

     officials, or state entities.” Woods v. Standard Ins. Co., 771 F.3d 1257, 1263 (10th Cir. 2014)

     (emphasis added); see Frazier v. Pioneer Americas LLC, 455 F.3d 542, 546-47 (5th Cir. 2006)

     (holding that the state actor rule applies only if “all primary defendants [are] states” and that

     plaintiffs cannot “avoid CAFA jurisdiction by naming a state as a primary defendant in an

     action largely targeting non-states”).

            26.     In identifying “primary defendants,” courts “first assume that all defendants will

     be found liable.” Singh v. Am. Honda Fin. Corp., 925 F.3d 1053, 1068 (9th Cir. 2019). Courts

     “then consider whether the defendant is sued directly or alleged to be directly responsible for

     the harm to the proposed class or classes, as opposed to being vicariously liable or secondarily

     liable.” Id. Courts “also consider the defendant’s potential exposure to the class relative to the

     exposure of other defendants.” Id. Courts do “not treat these considerations as exhaustive or

     apply them mechanistically. The inquiry is whether a defendant is a principal, fundamental, or

     direct defendant.” Id. (cleaned up).

            27.     Although Plaintiffs have asserted claims against some government entities, not

     all of the primary defendants are state actors. Plaintiffs have directly sued a variety of private

     entities alleging that they played a role in causing the Lahaina Fire. See, e.g., SAC ¶¶ 8, 11,

     39-42, 45-46, 50-52. Moreover, Plaintiffs allege that the government entities have the capacity

     to be sued for wilful misconduct, gross negligence, and recklessness pursuant to Hawaii Rev.

     Stat. § 127A-9. See SAC ¶¶ 55-57, 60.

            28.     Because the numerosity, minimal diversity, and amount in controversy

     requirements of CAFA are satisfied, and because the state actor rule does not apply, this case

     is subject to removal to federal court under CAFA.




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     E.      This Matter Is Not A Local Or Home-State Controversy.

             29.     Although the Lahaina Fire occurred in Hawaii, this matter is not a local or home-

     state controversy—exceptions to jurisdiction under CAFA, 28 U.S.C. §§ 1332(d)(3)-(4)—

     because a vast majority of the putative class, as broadly defined by Plaintiffs, does not comprise

     Hawaii citizens. Plaintiffs cannot demonstrate that one-third (let alone two-thirds) of the

     “Liability Class” comprises Hawaii citizens to invoke the local or home-state controversy

     exceptions. Plaintiffs would have the burden of establishing that an exception to jurisdiction

     applies. See Serrano v. 180 Connect, Inc., 478 F.3d 1018, 1019 (9th Cir. 2007). By raising

     these issues here, Spectrum is not assuming any burden of proof.

             30.     According to the 2020 census, Lahaina had a population of approximately

     12,700 residents.4 Roughly 2,000 of those residents are not U.S. citizens,5 and therefore are

     not Hawaii citizens.6 Thus, at most, approximately 10,700 Lahaina residents are potentially

     Hawaii citizens—if Plaintiffs can establish that they are domiciled in Hawaii and incurred

     injuries or losses related to the Lahaina Fire.7

             31.     The putative, worldwide class sweeps in tens of thousands of non-Hawaii

     citizens—due in large part to Maui’s status as one of the most popular vacation destinations in

     the United States and the world. The putative class includes non-U.S. citizens, tourists, longer-

     term visitors domiciled in other states, out-of-state owners of vacation homes or rental




     4
       United States Census Bureau, QuickFacts, Lahaina CDP, Hawaii,
          https://www.census.gov/quickfacts/lahainacdphawaii.
     5
       United States Census Bureau, Selected Social Characteristics in the United States, Lahaina CDP,
          Hawaii, https://data.census.gov/table/ACSDP5YSPT2021.DP02?g=160XX00US1542950.
     6
       See, e.g., Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001) (“To be a citizen of a
     state, a natural person must first be a citizen of the United States.”); King v. Great Am. Chicken Corp.,
     903 F.3d 875, 879 (9th Cir. 2018) (“It cannot be assumed that all residents … are citizens of the United
     States.”).
     7
       Kanter, 265 F.3d at 857 (citizenship is determined by “state of domicile, not … state of residence”;
     “A person’s domicile is her permanent home, where she resides with the intention to remain or to which
     she intends to return.”).

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     properties, and out-of-state businesses that owned land or operated in and around Lahaina or

     otherwise suffered an economic loss because of the fire. For example:8

                     (a)     Again, approximately 2,000 non-U.S. citizens resided in Lahaina.

                     (b)     An estimated 15,000 tourists were vacationing in West Maui, which

     includes Lahaina, on the day of the Lahaina Fire and therefore may claim to have incurred fire-

     related losses.9 As a result of the Lahaina Fire, tourists were evacuated from Lahaina as well

     as Kaanapali and Kapalua.10           The historic commercial district in Lahaina averaged

     approximately 2.1 million tourist visitors per year (which works out to be just under 6,000

     tourist visitors per day).11

                     (c)     Following the Lahaina Fire, additional tourists cancelled pre-planned

     trips to Maui and therefore may claim to have incurred losses. In August 2023 alone,

     88 transpacific flights to Maui were cancelled, representing over 23,000 seats.12 Since then,

     airlines have continued to reduce or cancel flights to Maui.13




     8
        These examples are not intended as an exhaustive list of non-Hawaii citizens in Plaintiffs’ putative
     class. Spectrum also does not concede that any member of the putative class has a viable claim under
     any theory of liability or that any class treatment is appropriate here.
     9
        Jake Indurksy, California Woman Is The Only Tourist Confirmed Killed In Maui Wildfire So Far,
     Honolulu Civil Beat (Aug. 24, 2023), https://www.civilbeat.org/2023/08/california-woman-is-the-only-
     tourist-confirmed-killed-in-maui-wildfire-so-far/.
     10
         Id.
     11
         Jack Witthaus, Hawaii Wildfires Rip Through Heart of Maui’s Commercial District, Killing Dozens,
     Destroying Property, CoStar (Aug. 10, 2023), https://www.costar.com/article/1484428056/hawaii-
     wildfires-rip-through-heart-of-mauis-commercial-district-killing-dozens-destroying-property.
     12
        State of Hawaii, Department of Business, Economic Development & Tourism, Maui Wildfire Impacts
     Economic Recovery (Sept. 6, 2023), https://dbedt.hawaii.gov/blog/23-47/ (“Maui Wildfire Impacts”).
     13
         See, e.g., Silas Valentino, Maui wants tourists back. But numbers are nosediving, and airlines are
     now suspending flights, S.F. Gate (Sept. 14, 2013), https://www.sfgate.com/hawaii/article/maui-
     tourism-demand-following-fires-2023-18364842.php.

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                     (d)     Approximately 35% of homes in Maui are purchased by out-of-state

     buyers.14 And approximately 50% of homes in Lahaina were renter-occupied.15 Many of the

     renter-occupied homes would have been owned and/or occupied by non-Hawaii citizens.

                     (e)     Out-of-state businesses owned land or operated in or around Lahaina or

     may claim to have been injured as a result of the fire. Some of Lahaina’s largest commercial

     property owners are not Hawaii citizens.16

             32.     Moreover, the alleged primary defendants are not all Hawaii citizens.

     According to Plaintiffs, Spectrum (a non-Hawaii citizen) is alleged to be a primary defendant.

     Plaintiffs are suing Spectrum directly, as opposed to alleging vicarious or secondary liability.

     SAC ¶¶ 5, 8, 129-30, 136.

     REMOVAL IS ALSO PROPER UNDER THE MULTIPARTY, MULTIFORM, TRIAL
                            JURISDICTION ACT

             33.     Removal of this action is also proper pursuant to MMTJA because, based on

     Plaintiffs’ allegations in the SAC, this action involves “minimal diversity between adverse

     parties that arises from a single accident, where at least 75 natural persons have died in the

     accident at a discrete location.” 28 U.S.C. § 1369(a).

             34.     Minimal diversity exists. See ¶¶ 15-21, supra; see also 28 U.S.C. § 1369(c)(1)

     (defining “minimal diversity” for the MMTJA).

             35.     As alleged by Plaintiffs, Plaintiffs’ claims arise from a single accident—the

     Lahaina Fire on August 8, 2023. SAC ¶¶ 2-8, 113. Plaintiffs allege that the Lahaina Fire had

     a single “Area of Origin” at or around Hawaii Electric Pole Number 7A (id. ¶¶ 110, 115-16,


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        See Grassroot Institute of Hawaii, West Maui tourism decision should be individual choice, (Oct. 11,
     2023), https://www.grassrootinstitute.org/2023/10/west-maui-tourism-decision-should-be-individual-
     choice/.
     15
        See Maui Wildfire Impacts, supra n. 11.
     16
        See, e.g., Witthaus, supra n. 10 (“One of Lahaina’s largest commercial property owners is Westlake
     Village, California-based real estate investment firm U.S. Realty Partners…. Lahaina also is home to
     Outlets of Maui, a roughly 147,000-square-foot, open-air shopping mall featuring upscale stores,
     including Calvin Klein, Coach, Gap, Kate Spade, Ralph Lauren, and Tommy Bahama.”).

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     135-39), and that although the Maui Fire Department had declared the fire contained, the fire

     reignited and quickly engulfed Lahaina. Id. ¶¶ 108, 111-14.

            36.      Plaintiffs allege that at least 75 natural persons died in the Lahaina Fire. SAC

     ¶ 9 (alleging that “[m]ore than one hundred people” died in the Lahaina Fire).

            37.      The Lahaina Fire occurred at a discrete location—Lahaina, a small town on the

     Island of Maui.

            38.      Moreover, MMTJA applies because “a defendant resides in a State and a

     substantial part of the accident took place in another State or location, regardless of whether

     that defendant is also a resident of the State where a substantial part of the accident took place.”

     28 U.S.C. § 1369(a)(1). The accident—the Lahaina Fire—took place in Hawaii, and Spectrum

     (a non-Hawaii citizen) resides in another State.

            39.      MMTJA also applies because “any two defendants reside in different States,

     regardless of whether such defendants are also residents of the same State or States.” 28 U.S.C.

     § 1369(a)(2).     Spectrum (a non-Hawaii citizen) resides in a different State than other

     Defendants who are Hawaii citizens and have their principal places of business in Hawaii. See,

     e.g., SAC ¶¶ 39-42, 46.

            40.      This is not a case where “the substantial majority of all plaintiffs are citizens of

     a single State of which the primary defendants are also citizens.” 28 U.S.C. § 1369(b)(1); see

     Passa v. Derderian, 308 F. Supp. 2d 43, 60 (D.R.I. 2004) (“all plaintiffs” encompasses “all

     those who have died or suffered injury as a result of the tragedy at issue,” not merely the

     plaintiffs who have filed claims in a particular case).

            41.      Indeed, the vast majority of potential plaintiffs with claims related to the

     Lahaina Fire are not Hawaii citizens, as illustrated by the broad, worldwide putative class. See

     ¶¶ 29-31, supra. Moreover, according to Plaintiffs, Spectrum (a non-Hawaii citizen) is a

     primary defendant. See ¶¶ 26, 32, supra.


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            42.     Because the requirements of MMTJA are satisfied, this case is subject to

     removal to federal court under MMTJA.

                                             *       *       *

            43.     Venue is proper in this Court pursuant to 28 U.S.C. § 1441(a) because the

     Circuit Court of the First Circuit, State of Hawaii is located within the District of Hawaii.

            44.     Under 28 U.S.C. § 1446(d), this Notice of Removal must be filed within 30 days

     of service upon Spectrum. Plaintiffs served Spectrum on October 24, 2023. Accordingly,

     removal is timely.

            45.      Spectrum is not required to notify or obtain the consent of any other Defendant

     in this action to remove Plaintiffs’ action as a whole under either CAFA or MMTJA. See, e.g.,

     28 U.S.C. § 1453(b) (CAFA); Pettitt v. Boeing Co., 606 F.3d 340, 343 (7th Cir. 2010)

     (MMTJA).

            46.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being

     served upon all parties to this action, and a copy is being filed with the Clerk of the Circuit

     Court of the First Circuit, State of Hawaii.

            47.     By filing a Notice of Removal, Spectrum does not waive the rights of any

     Defendant to object to service of process, the sufficiency of process, jurisdiction over the

     person, or venue; and Spectrum reserves the rights of all Defendants to assert any defenses or

     objections to which they may be entitled.

            48.     Spectrum reserves the right to amend or supplement this Notice of Removal.

            WHEREFORE, pursuant to CAFA and MMTJA, Spectrum hereby removes this action

     from the Circuit Court of the First Circuit, State of Hawaii, to the United States District Court

     for the District of Hawaii.




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     Dated: November 14, 2023   CHEE MARKHAM & KATO


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